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FILED
UNITED STATES DISTRICT COURT 7919 yp; 9) 9,
MIDDLE DISTRICT OF FLORIDA AN ST PHL: 92
FORT MYERS DIVISION Mido eeeS DISTRICT CouRT
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FORT MYERS FLORIDA OA
UNITED STATES OF AMERICA
Vv. CASE NO. 2:18-cr-
ALISON MARIE SHEPPARD _ 99 CH
a/k/a “Aiisha Abdullah” 2 Ger. 14 ~ven-

MOTION TO SEAL INDICTMENT
AND RELATED DOCUMENTS

Pursuant to Fed. R. Crim. P. 6(e)(4), and in the interests of law
enforcement, the United States of America by Maria Chapa Lopez, United
States Attorney for the Middle District of Florida, hereby moves the Court to
direct the Clerk to seal the Indictment, the file copy of the warrants, defendant
information sheet, this motion, the Court's order regarding this motion and
any other documents filed in this case that would identify the defendant.
Disclosure of the existence of these documents prior to the arrest of a
defendant could hinder or impede arrest efforts.

The United States further moves that the Court direct the Clerk to seal
the Indictment in this case except when necessary to provide certified copies of
the Indictment to the United States Attorney's Office.

The United States further requests that the Court's Order allow the

United States Marshals Service to release certified copies of the arrest warrant

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to the case agent or other appropriate law enforcement and/or to the United
States Attorney's Office, upon verbal request of the United States Attorney's
Office to the United States Marshals Service, without further order of the
Court.

The United States further requests that the Court's Order allow the
United States to disclose the existence of the Indictment in any subsequent
search and/or seizure warrants which may be executed in conjunction with
the arrest of the defendant.

The United States further moves that the Court direct the Clerk to
unseal the documents described herein without further order when any named
defendant is taken into custody.

Respectfully submitted,

MARIA CHAPA LOPEZ
United States Attorney

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